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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

____________________________________
MICHAEL WATSON and SHANNON          )
WATSON                              )
          Plaintiffs,               )
                                    )               Case No. 1:10-cv-03337-JOF
v.                                  )
                                    )
FLAGSHIP FINANCIAL GROUP, LLC       )
and SALLY A. FARRAR,                )
                                    )
          Defendants.                )
____________________________________)

               JOINT MOTION TO DISMISS THE COMPLAINT
      Plaintiffs Michael Watson and Shannon Watson (the “Watsons”), on the one

hand, and defendants Flagship Financial Group, LLC (“Flagship”) and Sally A.

Farrar (“Farrar” and collectively with Flagship, “Defendants”), on the other hand,

through their respective counsel, jointly move this Court and state as follows:

      1.       On or around August 18, 2010, the Watsons filed a complaint

(“Complaint”) against Defendants in the State Court for the State of Georgia, Cobb

County (“State Court”), styled Michael Watson and Shannon Watson v. Flagship

Financial Group, LLC and Sally A. Farrar, Civil Action No. 2010 A 8109-2 (the

“Lawsuit”).
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      2.       The Complaint alleges three counts against Defendants: (a) violations

of Georgia’s Racketeering Influenced and Corrupt Organizations Act (“RICO”),

pursuant to O.C.G.A. § 16-4-1, et seq. (Complaint, Count 1); (b) violations of

Georgia’s residential mortgage fraud statute, pursuant to O.C.G.A. § 16-8-102

(Complaint, Count 2); and (c) violations of Georgia’s punitive damages statute,

pursuant to O.C.G.A § 51-12-5.1(b) (Complaint, Count 3). The Complaint further

alleges violations of: (a) 18 U.S.C. § 1341, mail fraud (Complaint at 6:34(b)); (b)

18 U.S.C. § 1343, wire fraud (Complaint at 6:34(c)); and (c) 38 CFR 36.4312,

Department of Veterans Affairs guidelines, charges and fees (“VA guidelines”)

(Complaint at 9:50).

      3.       On October 15, 2010, Flagship filed a Notice of Removal of the

Lawsuit in the United States District Court for the Northern District of Georgia,

Atlanta Division (“District Court”) and a Notice of Filing of Notice of Removal in

the State Court.

      4.       On October 21, 2010, the District Court granted Flagship’s Consent

Motion for an Extension of Time to Respond to Plaintiffs’ Complaint until

November 22, 2010.




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      5.       Based on the settlement reached by the parties, the parties request that

the Court dismiss the Complaint in its entirety with prejudice as to the Watsons’

claims.

      6.       The parties further request that the Court order that each party bear its

own costs and expenses, including attorneys’ fees.

      WHEREFORE, plaintiffs Michael Watson and Shannon Watson and

defendants Flagship Financial Group, LLC and Sally A. Farrar respectfully request

that the Court dismiss this Complaint in its entirety with prejudice as to the

Watsons’ claims and order that each party bear its own costs and expenses,

including attorneys’ fees.



                        [Signatures Appear on Following Page]




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     Respectfully submitted this 1st day of December, 2010.

s/ Jason Crawford                         s/ Christopher S. Anulewicz
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                          CERTIFICATE OF SERVICE


      I hereby certify that on December 1, 2010 a copy of the foregoing was filed

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the following attorneys of record:

                            Jason L. Crawford, Esq.
                               J. Clay Fuller, Esq.
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